Case 4:24-cv-00897 Document 18 Filed on 06/17/24 in TXSD Page 1 of 8
                                                             United States District Court
                                                               Southern District of Texas

                                                                  ENTERED
                                                                  June 17, 2024
                                                               Nathan Ochsner, Clerk
Case 4:24-cv-00897 Document 18 Filed on 06/17/24 in TXSD Page 2 of 8
Case 4:24-cv-00897 Document 18 Filed on 06/17/24 in TXSD Page 3 of 8
Case 4:24-cv-00897 Document 18 Filed on 06/17/24 in TXSD Page 4 of 8
Case 4:24-cv-00897 Document 18 Filed on 06/17/24 in TXSD Page 5 of 8
Case 4:24-cv-00897 Document 18 Filed on 06/17/24 in TXSD Page 6 of 8
Case 4:24-cv-00897 Document 18 Filed on 06/17/24 in TXSD Page 7 of 8
Case 4:24-cv-00897 Document 18 Filed on 06/17/24 in TXSD Page 8 of 8
